             Case 8:19-bk-00770-MGW             Doc 33     Filed 11/05/19      Page 1 of 1



                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTICT OF FLORIDA
                                TAMPA DIVISION
                               www.flmb.uscourts.gov

In re:

ERIC L. BAKER                                               Case No. 8:19-bk-00770-MGW
PATTI S. BAKER                                              Chapter No: 7

                   *Debtor



     WITHDRAWL OF THE TRUSTEES MOTION TO SELL FREE AND CLEAR OF LIENS
                     NOTICE OF CANCELATION OF HEARING

             TRACI K. STEVENSON, duly appointed and acting Trustee, hereby gives Notice of
Cancellation of Hearing on the Motion to Sell Property Free and Clear of Liens, scheduled for November 6,
2019 at 9:30 AM in Courtroom 8A for the following reason(s):

             1. The Buyer and the second lien holder Microf, LLC did not come to a resolution.

WHEREFORE, the Trustee respectfully requests that the Court Cancel the Hearing on the Motion to Sell
Property Free and Clear of Liens, scheduled for November 6, 2019 at 9:30 AM.

                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the above and foregoing has been furnished
by U. S. Mail or hand delivered this November 5, 2019 to:

U. S. Trustee, 501 E. Polk Street, Ste. 1200, Tampa, FL 33602
Debtor, Eric L. Baker, 5637 Sailfish Drive Apt. B, Lutz, FL 33558, Patti S. Baker, 5637 Sailfish
Drive Apt. B, Lutz, FL 33558
Debtor’s Atty Sandra H Day, The Day Law Office, Po Box 5535, Spring Hill, FL 34611-5535




DATED: November 5, 2019

                                                       /s/Traci K. Stevenson_______________________
                                                       Traci K. Stevenson, Trustee
                                                       P.O. Box 86690
                                                       Madeira Beach, FL 33738
                                                       727-397-4838
